                   Case: 25-1574
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                                            APPEALS  1   Date
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                                                              THIRD 04/10/2025
                                                                      CIRCUIT

                                                     No. 25-1574

                        Atlas Data Privacy Corporation, et al.   vs. GoHunt LLC, et al.

                                                 ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
 GoHunt, LLC, GoHunt Management Holdings, LLC, and GoHunt Management Holdings II, LLC

Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                ✔ Appellant(s)
                                          ____                                 ____ Intervenor(s)

         ____ Respondent(s)               ____ Appellee(s)                     ____ Amicus Curiae

(Type or Print) Counsel’s Name Aaron  Van Nostrand, Esq.
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (3)

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SIGNATURE OF COUNSEL: /s/ Aaron Van Nostrand

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
